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                        EXHIBIT 73
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 [Logo:] Academie de Paris [Paris Academy]

 NATIONAL MINISTRY OF EDUCATION                                                                       [Logo:]
 MINISTRY OF HIGHER EDUCATION,                                                           ACADEMIE DE PARIS
 AND RESEARCH                                                                                [Paris Academy]
 [Logo: French Republic]


            ECOLE POLYVALAN TE
               [Multi-purpose school]
       10 rue des Hospitalieres Saint Gerva
                 75004      PARIS
       Phone: 01 48 87 26 85
       Fax:    01 47 87 14 64
       email: ce.0751121 L@ac-paris.fr


Paris, May 22, 2024

                                     CERTIFICATION

I, the undersigned, Thierry HATOU, principal of the school, do hereby certify that Juliette PARIS
had indeed been diligently attending the CM1-grade class here at the Ecole des Hospitalieres
since September 4 and that her studies were going well despite some comprehension
difficulties in mathematics.

Juliette seemed to be thriving in her class with her classmates that she'd reunited with, most of
whom she had known since she started kindergarten (2017).

At the request of Ms. Brown, we met with her just before the spring vacation to update her on
Juliette's progress in school. Our meeting went well, with discussion of progress targets for the
rest of the school year and no indication that Juliette would not finish her year in the class.

It is shocking and very surprising that the commitments made at the time by Ms. Brown were, in
the end, totally bogus and did not correspond to the end-of-year timetable discussed.

Juliette was very involved in our annual projects (choir show, commemoration - Olympiads) and
her absence is regrettable for the whole class.

All of Juliette's schoolwork and class projects were cancelled by this departure during the year.
The students were sad and confused. The teacher's attempts to explain the situation were
made quite difficult given the circumstances underlying her sudden departure.


Certification prepared at the request of Mr. .PARIS, Juliette's father.   [Signature & stamp:]
                                                                                    Ecole Polyvalante
                                                                           IO rue des Hospitalieres Saint-Gervais
                                                                                     75004 PARIS
                                                                                  Phone: 01 48 87 72 93




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                ECOLE POil.YVALENTE
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  Paris le 22/ 05 / 202


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                                                   AT1TESTATION
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  Je soussigne Thierry ATTU directeur·de l;ecole, atteste que Juliette PARIS et_ait bien presente              a
· l'ecole Hospitalieres n classe de CM1,de~uis la rentree scolaire du 4 septembre 2023 de ·: •
                                   7
• maniere a,ssidue et qye sa scolarite se pas;sait bien, malgre quelques difficultes de              -    ;
  comprehension en m~thematiques.                   •     i -                            ·                •

  JU liette se,m blait Opa~ou ie :dans sa classe ·[av:c ses ca.m ara des qu'elle retrouvait et qu 'elle :
  connaIssaIt maJontairiment depu1s sor:1 er)tree en maternelle (2017}.                      .            •

  Nous avons rencontr1 aSa demande Ma~ame Brown Juste avant les vacances de printem~s pour
  faire le point sur la sc9larite de Juliette. Notre entretien s'est bien deroule, avec des objectifs de
  progres jusqu'a la fin           ~e l'annee scolaire, ~ien ne laissant presager que Juliette ne termine~ait pas
• son annee dans sa cla se.

  II est choquantet tres surprenant que !es ~ngagements pris alors par Madame Brown etaient
  finalement totalemen factices et ne corre;spondaient pas au calendrier de fin d'annee evo~ue.
                                  .        . I                                               . .
  Juliette, eta it tres im, liquee dans nos. pr9jets annuels (spectacle de chorale, commemoration -
  Olympiades) ·et son abrence est regrettabl~ pour !'ensemble de la classe.,                              '

 Tousles efforts scola+s et Jes projets ~. I~ classe de Juliette ont done ete annules par ce depart
  en cours d'annee. Les el.eves etaient triste~ et dans l'incompreh_ension. Les tentatives
  d'explications de l'ens ignarite etant rendtlies assez difficiles en fonction des conditions lie~s a
  ce depart soudain.      •                    l                    •           •         •
                                                              l
                                                              :


 Attestation delivre.e a a demande aMqns~eur PARIS, per.e de Juliette.
                                                              '                                                 mt-Gervais

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